         Case 1:22-cv-10792-RGS Document 22 Filed 09/13/22 Page 1 of 1


                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
______________________________________
KIRA WAHLSTROM,
       Plaintiff,
          v.                                         Civil Action No. 1:22‐cv‐10792‐RGS
DAVID J. HOEY, LAW OFFICES OF DAVID
K. HOEY, P.C., DON C. KEENAN, D.C.
KEENAN & ASSOCIATES, P.C, & KEENAN’S
KIDS FOUNDATION, INC.
       Defendants.
______________________________________

                                     NOTICE OF DEFAULT
STEARNS, D.J.

       Upon application of the Plaintiff for an order of Default pursuant to Rule 55(a) of the

Federal Rules of Civil Procedure against Defendant Keenan’s Kids Foundation, Inc., for

failure to answer or otherwise respond to the Complaint filed by the Plaintiff, notice is

hereby given that Defendant Keenan’s Kids Foundation, Inc. have been defaulted on this

13th day of September 2022.


                                                             ROBERT FARRELL, CLERK,
                                                             By: /s/ Danielle Kelly
                                                             Deputy Clerk
